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APRl `8 2005

 
 
  

DOCKETNO. 1657 cLERE!§E€FF.cE

ICIAL PANEL oN MUL TIDISTRIC LIUI&AJ‘!)SGR|CT COURT
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LIABILITY LITIGA TION

FiLED MAY - 9 2005
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CONDITIONAL TRANSFER 0RDER (CT -6) LORETTA G- w

 

 

 

CLERK

On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court for the
Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. Since that time, 280 additional actions have been transferred to the Eastern District of Louisiana.
With the consent of that court, all such actions have been assigned to the Honorable Eldon E. Pallon.

It appears that the actions on this conditional transfer order involve questions of fact which are common to
the actions previously transferred to the Eastern Distn`ct of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litiization. 199 F.R.D.
425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District of
Louisiana for the reasons stated in the order of February 16, 2005, ___F.Supp.Zd___ (J.P.M.L. 2005),
and, With the consent of that court, assigned to the Honorable Eidon E. Fallon.

Thjs order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall be stayed
fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk of the
Panel within this fifteen (15) day period, the stay will be continued until further order of the Panel.

FoR THE PANEL;

WO, Ba¢_h_

Michaei J. deck
Clerk of the Panel

 

 

 

 

 

 

 

 

 

 

 

 

lnasmuch as no objection is CLERK'S OFF|CE
pending at this time, the -
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___ Process .
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7 _ CtRmDep_j§_'t_
"_"__* ._- DOC. No,___._,._l_,
oLEni<'s oFFioE ' D¢Epuf Clerl_<. Q.S. Distrlct court
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CaSe 1:05-cv-OlO78-JDT-
NITED
EASTERN DISTRiCT OF LOUlsiANA

OFFICE oF THE CLERK

500 PoYDRAs ST., SUiTE C-151
NEW ORLEANS, LA 70130

LoRRF.T'rA G. WHYTE
CLER|<
May 11, 2005
F _
Roberi Di Tmiio, clerk gL”-E`D \,
United States District Court ""' __ §
Western District of Tennessec `"`""--
167 N. Main St., Room 242 MA}/ l
Memphis, TN 38103 g 5 2005
Robert H
U. Sy D'DlTroi,'
W D OF: {.lsvzn§goé:i@rk
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ln Re: MDL 1657 Vioxx Products Liability Litigation L (3)

Dear Mr. Di Trolio:
Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel

in Washington, D.C. It instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC 1407, as soon as possible Our office has assigned new civil

action numbers to these cases as referenced on the attached page.
DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified

copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together with a copy of the transfer letter be forwarded to the transferor

court
Due to the high volume of cases involved in this litigation please provide paper copies of

the above documents instead of simply referring to your website. Your prompt attention in this

matter is greatly appreciated
Should you have any questions regarding this request, please contact Dina Guilbeau at

Very truly yours,

Loretta GM

BY _§m
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Deputy Clerk

(504)589-7704.

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cc: Judicial Panel on Multidistrict Litigation
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Case 1:05-cv-OlO78-.]DT-STA Document 18 Filed 05/16/05 Page 3 of 5 Page|D 15

 

 

Your Case Nos. Case Title Our Case Nos.
1205-1067 Pauline Tharpe, et al v. Merck & Co., Inc. 05-1796 L (3)
li0_5-1068 Charles M. Flippin, et al v. Merck & Co., Inc. 05-1797 L (3)

wong Riia Ruiherford v. Merck & co., inc. 015-1798 L (3)?
2:05-2189 Christian Jensen v. Merck & Co., Inc. u'-`

2:05»2191 Diane Mclntyre v. Merck & Co., Inc. 05-1800 L (3)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:05-CV-01078 vvas distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

ESSEE

 

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Case 1:05-cv-01078-.]DT-STA Document 18 Filed 05/16/05 Page 5 of 5 Page|D 17

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Honorable J ames Todd
US DISTRICT COURT

